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   8                                 UNITED STATES DISTRICT COURT
   9                                CENTRAL DISTRICT OF CALIFORNIA
  10
  11   Cat Coven LLC,                               ) CASE NO.: CV 21-7254-GW-MAAx
                                                    )
  12          Plaintiff                             ) JUDGMENT
                                                    )
  13          vs.                                   )
                                                    )
  14   Zoetop Business Co., Ltd.,                   )
                                                    )
  15          Defendant.                            )
                                                    )
  16
  17          Pursuant to the Offer of Judgment, and the Acceptance of Offer of Judgment, filed on
  18   October 21, 2021, judgment is entered for Plaintiff Cat Coven LLC and against Defendant Zoetop
  19   Business Co., Ltd., pursuant to the conditions set for in the Offer of Judgment.
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  22   DATE: October 25, 2021                                      /s/ Javier Gonzalez
                                                                    Clerk of the Court
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